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07
                              UNITED STATES DISTRICT COURT
08                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
09

10 UNITED STATES OF AMERICA,              )
                                          )
11               Plaintiff,               )             Case No. 08-MJ-2
                                          )
12         v.                             )
                                          )             DETENTION ORDER
13   KEN ELLIOT TODD, JR.,                )
                                          )
14               Defendant.               )
     ____________________________________ )
15

16 Offenses charged:

17          Count 1: Kidnaping, in violation of 18 U.S.C. §§ 2 and 120.

18          Count 2: Brandishing a Firearm During and in Relation to Kidnaping, in violation of 18

19 U.S.C. § 924(c)..

20 Date of Detention Hearing:      February 13, 2008.

21          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

22 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

23 the following:

24          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

25          (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that

26 defendant is a flight risk and a danger to the community based on the nature of the pending


     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 charges. This places a limited burden of production on the defendant, although the burden of

02 persuasion remains with the government. Application of the presumption in favor of detention

03 is appropriate in this case.

04          (2)     Defendant is charged with brutal acts of violence against his former wife and

05 her friend. He traveled from Montana to Washington to allegedly commit these acts. Thus,

06 distance from the alleged victim, per se, does not afford protection.

07          (3)     Defendant has had previous charges of domestic violence, including against the

08 same alleged victim.

09          (4)     Assistant United States Attorney proffered attempts by members of family

10 associated with tribal authorities to get the alleged victim to change her story, thereby raising

11 issues of obstruction.

12          (5)     There appear to be no conditions or combination of conditions other than

13 detention that will reasonably address the risk of danger to other persons or to the community

14 or possible obstruction.

15          IT IS THEREFORE ORDERED:

16          (1)     Defendant shall be detained pending trial and committed to the custody of the

17                  Attorney General for confinement in a correctional facility separate, to the

18                  extent practicable, from persons awaiting or serving sentences or being held in

19                  custody pending appeal;

20          (2)     Defendant shall be afforded reasonable opportunity for private consultation

21                  with counsel;

22          (3)     On order of a court of the United States or on request of an attorney for the

23                  government, the person in charge of the corrections facility in which defendant

24                  is confined shall deliver the defendant to a United States Marshal for the

25                  purpose of an appearance in connection with a court proceeding; and

26          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to


     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01               counsel for the defendant, to the United States Marshal, and to the United

02               States Pretrial Services Officer.

03               DATED this 14th day of February, 2008.



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                                                      JAMES P. DONOHUE
06                                                    United States Magistrate Judge
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     DETENTION ORDER                                                                      15.13
     18 U.S.C. § 3142(i)                                                               Rev. 1/91
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